

People v Dixon (2021 NY Slip Op 05103)





People v Dixon


2021 NY Slip Op 05103


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Acosta, P.J., Singh, Kennedy, Mendez, Higgitt, JJ. 


Ind No. 121/2003 121/2003 Appeal No. 14212 Case No. 2020-00274 

[*1]The People of the State of New York, Respondent,
vWilliam Dixon, Defendant-Appellant.


Center for Appellate Litigation, New York (Robert S. Dean of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Noreen Stackhouse of counsel), for respondent.



Judgment, Supreme Court, New York County (Melissa C. Jackson, J.), rendered September 27, 2019, convicting defendant, upon his guilty plea, of sodomy in the first degree, and sentencing him, as a second violent felony offender, to a term of 10 to 20 years, unanimously modified, on the law, to the extent of vacating the supplemental sex offender victim fee, and otherwise affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094 [2016]; see also People v Dilworth, 189 AD3d 636 [1st Dept 2020], lv denied 36 NY3d 1096 [2021]). The plea court's colloquy with defendant, taken together with the written appeal waiver defendant signed in court after consulting with counsel, satisfied the requirements for a valid appeal waiver. Regardless of whether defendant made a valid appeal waiver, we perceive no basis for reducing the sentence.
However, because the crime was committed before the effective date of the legislation (Penal Law § 60.35 [1] [b]) providing for the imposition of a supplemental sex offender victim fee, the court lacked statutory authority to impose that fee (People v Aleman, 193 AD3d 623 [1st Dept 2021]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








